                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                      )          DOCKET NO. 3:08CR134-RJC
                                              )
               vs.                            )          ORDER FOR TRANSFER OF CUSTODY
                                              )
(5) JUAN GILBERTO VILLALOBOS,                 )
       a/k/a “Smoke” and “Smokey”             )

       THIS MATTER is before the Court on the Government's motion, filed November 19, 2009,

for the transfer of custody of Defendant.

       The Court has carefully reviewed the motion, and believes that good cause has been shown

to justify the temporary transfer of custody of Defendant from the United States Marshals Service

to TFO William C. Hastings, ATF Special Agent Mark Jones, ICE Special Agent Jose Romero, and

FBI Special Agent Christopher Wettingfeld and/or another designated agent or TFO of the FBI. The

transfer shall be subject to the following conditions:

       (1)     The United States Marshals Service shall allow the intermittent and periodic transfer

of custody of the Defendant to TFO William C. Hastings, ATF Special Agent Mark Jones, ICE

Special Agent Jose Romero, and FBI Special Agent Christopher Wettingfeld and/or another

designated agent or TFO of the FBI, during the period between November 19, 2009 through

December 4, 2009, from the hours of 9:00 AM to 7:00 PM for the purpose of obtaining a

handwriting exemplar. The defendant shall be returned to the Mecklenburg County Jail no later

than 7:00 p.m. on each day agents obtain custody.

       (2)     Custody of the Defendant may be given to TFO William C. Hastings, ATF Special

Agent Mark Jones, ICE Special Agent Jose Romero, and FBI Special Agent Christopher Wettingfeld

and/or another designated agent or TFO of the FBI, provided at least one other law enforcement




    Case 3:08-cr-00134-RJC-SCR              Document 741       Filed 11/19/09     Page 1 of 2
agent is present when the Defendant is transported. The United States Marshals Service shall not

turn over custody of the Defendant unless TFO William C. Hastings, ATF Special Agent Mark

Jones, ICE Special Agent Jose Romero, and FBI Special Agent Christopher Wettingfeld and/or

another designated agent or TFO of the FBI, is present.

       (3)     When the Defendant is picked up each morning at the Mecklenburg County Jail

agents shall use the same security and restraints as used by the United States Marshals Service when

transporting a prisoner; i.e., the Defendant shall be placed in handcuffs and leg shackles whenever

being transported.

       (4)     The only locations where the Defendant is to be shall be the CMPD Offices in

Charlotte, North Carolina or any other suitable location designated by law enforcement. At no time

should the Defendant be in any other location other than when being transported to and from the

Mecklenburg County Jail. There will be no exceptions to this provision without written motion and

a corresponding written order.

       (5)     Agents shall provide the United States Marshals Service with reasonable notice each

day they intend to obtain custody of the Defendant.

       A copy of this Order shall be disclosed to the United States Marshals Service, defense

counsel and the United States Attorney Office.

       SO ORDERED.                               Signed: November 19, 2009




    Case 3:08-cr-00134-RJC-SCR            Document 741        Filed 11/19/09      Page 2 of 2
